                Case 23-10411                Doc 1        Filed 03/21/23 Entered 03/21/23 10:32:55                            Desc Main
                                                             Document    Page 1 of 4
     Fill in this information to identify the case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
                                          (State)
     Case number (If known): _________________________ Chapter _____

                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                           12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


Part 1:      Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.   Chapter of the                    Check one:
     Bankruptcy Code
                                            Chapter 7
                                       x     Chapter 11


Part 2:      Identify the Debtor


2.   Debtor’s name                      Raymond C. Green Trust                                                   ____________________________________



3.   Other names you know                                                       ______________
     the debtor has used in
     the last 8 years                  __________________________________________________

                                       __________________________________________________
     Include any assumed
     names, trade names, or
     doing business as names.

4.   Debtor’s federal
     Employer Identification            Unknown
     Number (EIN)
                                       EIN

                                       Principal place of business                                    Mailing address, if different
5.   Debtor’s address

                                       155 Federal Street, Suite 1300
                                       ________________________________________________               _________________________________________________
                                       Number     Street                                              Number     Street


                                                                                                      _________________________________________________
                                       _________________________________________________
                                                                                                      P.O. Box


                                       Boston
                                       ______________________________        MA
                                                                            _______  02110
                                                                                    _________         _____________________________ _______ _________
                                       City                                 State   ZIP Code          City                          State   ZIP Code



                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business

                                       Suffolk
                                       _________________________________________________              _________________________________________________
                                       County                                                         Number     Street

                                                                                                      _________________________________________________

                                                                                                      _____________________________ _______ _________
                                                                                                      City                          State   ZIP Code


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Debtor         Raymond C. Green Trust        ___________________________                      Case number(      known)_____________________________________
               Name




6.    Debtor’s website (URL)      _____________________________________________________________________________________________________




7.    Type of debtor
                                  x      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other type of debtor. Specify: __________________________________________________________________________


8.    Type of debtor’s
                                   Check one:
      business
                                   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                   Railroad (as defined in 11 U.S.C. § 101(44))
                                   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                  x None of the types of business listed.
                                   Unknown type of business.

9.    To the best of your          x     No
      knowledge, are any
      bankruptcy cases                  Yes. Debtor _________________________________________________ Relationship __________________________
      pending by or against
                                              District __________________________ Date filed _______________ Case number, if known____________________
      any partner or affiliate
                                                                                             MM / DD / YYYY
      of this debtor?

                                              Debtor _________________________________________________            Relationship __________________________

                                              District __________________________ Date filed _______________ Case number, if known____________________
                                                                                             MM / DD / YYYY




Part 3:        Report About the Case

10.   Venue                       Check one:

                                   x    Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                        business, or principal assets in this district longer than in any other district.

                                   A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.

11.   Allegations                 Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                  The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                  At least one box must be checked:

                                   x    The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                        fide dispute as to liability or amount.

                                   Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                        agent appointed or authorized to take charge of less than substantially all of the property of the
                                        debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12.   Has there been a             x    No
      transfer of any claim
      against the debtor by or     Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
      to any petitioner?                Rule 1003(a).


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Debtor            Raymond C. Green Trust                __________________________                         Case number(   known)_____________________________________
                  Name




13.   Each petitioner’s claim                     Name of petitioner                                    Nature of petitioner’s claim              Amount of the claim
                                                                                                                                                  above the value of
                                                                                                                                                  any lien


                                                  See attached sheet
                                                  ______________________________________                _________________________________         $ ________________

                                                  ______________________________________                _________________________________         $ ________________

                                                  ______________________________________                _________________________________         $ ________________

                                                                                                              Total of petitioners’ claims
                                                                                                                                                  $ ________________


      If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
      the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
      additional petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney. Include the
      statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or representative’s) signature,
      along with the signature of the petitioner’s attorney.


Part 4:        Request for Relief

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
      $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

      Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
      petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
      foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

      I have examined the information in this document and have a reasonable belief that the information is true and correct.

      Petitioners or Petitioners’ Representative                                             Attorneys


      Name and mailing address of petitioner

      Ocean Development Partners, LLC _____________________________                           Neil Kreuzer
                                                                                             ________________________________________________________________
      Name                                                                                   Printed name

                                                                                              Law Offices of Neil Kreuzer
                                                                                             ________________________________________________________________
      ______________________________________________________________                         Firm name, if any
      Number Street

      _________________________________ ______________ _____________
                                                                                              268 Newbury Street, 4th Floor
                                                                                             ________________________________________________________________
                                                                                                      Street
                                                                                                 Number
      City                              State          ZIP Code

                                                                                              Boston
                                                                                             _________________________________  MA
                                                                                                                               ______________  02116
                                                                                                                                              _____________
                                                                                             City State          ZIP Code
      Name and mailing address of petitioner’s representative, if any

       Nicholas Fiorillo               _____________________________________                 Contact phone   (617) 872-5347 Email ___________________________
                                                                                                              _________________     nkreuzer@aol.com
      Name

      268 Newbury Street, 4th Floor
      ______________________________________________________________                         Bar number       680976
                                                                                                             ___________________________________________________
      Number Street

       Boston
      _________________________________  MA
                                        ______________   02116
                                                       _____________                         State            Massachusetts
                                                                                                             _________________
      City                              State          ZIP Code

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on     03 /21 /23 ___
                     MM / DD / YYYY                                                        /s/ Neil Kreuzer
                                                                                              ________________________________________________________________
                                                                                             Signature of attorney

 /s/ Nicholas Fiorillo
      ______________________________________________________________
                                                                                             Date signed       03 /21 /23____
      Signature of petitioner or representative, including representative’s title
                                                                                                              MM / DD / YYYY



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Debtor         Raymond C. Green Trust               ___________________________                         Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner

    Fiorillo Family Revocable Trust
                                 ___________________________________                       Nicholas Fiorillo
                                                                                                        __________________________________________________
   Name                                                                                   Printed name

                                                                                                                             ___________________________________
    3 Kales Way                          __________________________________               Firm name, if any
   Number     Street

    Harwich_________________________
            Port                                                                           3 Kales Way                           ________________________________
                                      MA
                                     ______________ 02646 ______
   City                       ZIP Code           State               ZIP Code             Number     Street

                                                                                           Harwich Port                      MA
                                                                                                   ________________________ ______________         02646______
                                                                                          City                                     State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone (508) 776-7219
                                                                                                          _________________        metrowestrealty@yahoo.com
                                                                                                                            Email ___________________________
    Nicholas Fiorillo          _________________________________________
   Name
                                                                                          Bar number                 __________________________________________
   3 Kales Way
   ______________________________________________________________
   Number Street
                                                                                          State                             _
   Harwich Port
   _________________________________  MA
                                     ______________  02646
                                                    _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on     03 21 23  _ ___
                  MM / DD / YYYY
                                                                                           /s/ Nicholas
                                                                                                     _   Fiorillo
                                                                                                             ____________________________________________
                                                                                          Signature of attorney


 /s/ Nicholas Fiorillo
    ______________________________________________________________                        Date signed          03 /21 /23 ____
   Signature of petitioner or representative, including representative’s title                                MM / DD / YYYY




   Name and mailing address of petitioner

    Ocean Vacations Realty Trust _________________________________                        Nicholas Fiorillo
                                                                                          ________________________________________________________________
   Name                                                                                   Printed name

                                                                                          ________________________________________________________________
    3 Kales Way
   ______________________________________________________________                         Firm name, if any
   Number Street

   Harwich Port
   _________________________________  MA
                                     ______________  02646
                                                    _____________                          3 Kales Way
                                                                                          ________________________________________________________________
   City                ZIP Code      State                                                Number Street

                                                                                           Boston
                                                                                          _________________________________  MA
                                                                                                                            ______________  02646
                                                                                                                                           _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone        (508) 776-7219
                                                                                                              _________________        metrowestrealty@yahoo.com
                                                                                                                                Email ___________________________
    Nicholas Fiorillo
   ______________________________________________________________
   Name
                                                                                          Bar number      ___________________________________________________
    3 Kales Way
   ______________________________________________________________
   Number Street
                                                                                          State           _________________
    Harwich Port
   _________________________________  MA
                                     ______________  02646
                                                    _____________
   City                              State          ZIP Code


   I declare under penalty of perjury that the foregoing is true and correct.

   Executed on      03 /21 /23
                             _ ___
                  MM / DD / YYYY
                                                                                        /s/ Neil Kreuzer
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


     /s/ Nicholas Fiorillo
    ______________________________________________________________                        Date signed          03 /21 /23 ___
   Signature of petitioner or representative, including representative’s title                                MM / DD / YYYY




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